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     Attorneys for Plaintiffs
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18                       IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA
19
20   THERESA DUTCHUK, ANNALISA        Case No.: 3:19-cv-00136-HRH
     HEPPNER, LIZ ORTIZ, RANNA WELLS,
21   NORMA JOHNSON, AND JANE DOE VI
22                                    PLAINTIFFS’        SUR-REPLY    IN
               Plaintiffs,
                                      OPPOSITION        TO    DEFENDANTS
23                                    UNIVERSITY OF ALASKA BOARD
               vs.
24                                    OF REGENTS AND UNIVERSITY OF
                                      ALASKA         SYSTEM’S     PARIAL
25   DAVID YESNER, UNIVERSITY OF
                                      MOTION TO DISMISS
     ALASKA BOARD OF REGENTS AND
26   UNIVERSITY OF ALASKA SYSTEM,
27                 Defendants.
28

                                             1
     PLAINTIFFS’ SUR-REPLY IN OPPOSITION TO DEFENDANTS UNIVERSITY OF ALASKA BOARD OF
     REGENTS AND UNIVERSITY OF ALASKA SYSTEM’S PARTIAL MOTION TO DISMISS
1        PLAINTIFFS’ SUR-REPLY IN OPPOSITION TO DEFENDANTS UNIVERSITY
            OF ALASKA BOARD OF REGENTS AND UNIVERSITY OF ALASKA
2                      SYSTEM’S PARTIAL MOTION TO DISMISS
3
             COME NOW, Plaintiffs, and file this Sur-Reply in Opposition to Defendants
4
     University of Alaska Board of Regents and University of Alaska System’s (“University of
5
6    Alaska”) (“Defendants”) Partial Motion to Dismiss and would respectfully show this Court
7    the following:
8
                   UNIVERSITY OF ALASKA’S CONTINUED DISHONESTY
9
10           University of Alaska has continued to be dishonest with Plaintiffs and the
11   community. Just recently, President of University of Alaska, Jim Johnsen, gave a televised
12
     interview on June 26, 2019 to respond to Plaintiffs’ lawsuit and the University’s Title IX
13
14   problem at large. Mr. Johnsen admitted that “people have been damaged. I don’t think there
15   is any getting over these cases, especially the victims so we are doing our very, very best
16
     to remedy what we can.” 1 Mr. Johnsen also apologized for the incidents and stated that
17
18   the University will be supportive and relentless in dealing with these cases.

19           “I’m sorry. I mean these are tragedies, right? They can’t be fixed today so simply.
20           People have been hurt. And we as an organization, we as people, can do our very
             best to help them, to grieve with them, but it’s not fair. I don’t think the system is
21           fair yet, frankly. And it pains me to say that. That said, at the University of Alaska,
22           anyway, we are going to be relentless in dealing with these cases and also as
             supportive and compassionate as we can be to the victims in these matters.” 2
23
24           Yet University of Alaska has not withdrawn their Motion to Dismiss.

25
26
27   1
        Daniella Rivera, “‘People have been hurt’: UA President Jim Johnsen discusses efforts to address Title IX
     complaints,” KTVA (June 26, 2019), https://www.ktva.com/story/40713254/people-have-been-hurt-ua-president-
28   jim-johnsen-discusses-efforts-to-address-title-ix-complaints.
     2
       Id.

                                                          2
     PLAINTIFFS’ SUR-REPLY IN OPPOSITION TO DEFENDANTS UNIVERSITY OF ALASKA BOARD OF
     REGENTS AND UNIVERSITY OF ALASKA SYSTEM’S PARTIAL MOTION TO DISMISS
1             Infuriatingly and yet not surprisingly, Mr. Johnsen said that they still have not

2    improved their policies to address these types of sexual assault and sexual harassment
3
     situations. “I do not believe we have made any particular policy changes since then.” 3
4
              Besides University of Alaska’s statute of limitations challenge to Plaintiffs’ claims,
5
6    they do not challenge that Plaintiffs’ Second Amended Complaint states a claim for relief
7    under Title IX—only that Plaintiffs’ claims are time-barred. But dispute over the date of a
8
     cause of action accrues is a classic factual dispute that precludes 12(b)(6)-stage dismissal. 4
9
10   Thus, if the Court agrees that Plaintiffs have not “conclusively” pled themselves out of
11   court, it should deny University of Alaska’s motion. If University of Alaska wants to
12
     challenge Plaintiffs’ allegations, it can do so at summary judgment but not on a motion to
13
14   dismiss.
15                                          STANDARD OF REVIEW
16
              A Rule 12(b)(6) motion is generally an “inappropriate vehicle” for dismissing
17
18   a claim based upon a statute of limitations 5, and courts disfavor dismissing claims as

19   untimely at the motion-to-dismiss stage. 6 Ordinarily, a Fed. R. Civ. P. 12(b)(6) motion
20
     cannot be used to raise an affirmative defense. 7 Plaintiffs have no duty to plead facts
21
22   negating an affirmative defense. 8 And although the statute of limitations provides an

23
24
     3
       Id.
25   4
       “[T]he determination of when a cause of action accrues is to be decided by the trier of fact.” Kehoe Component Sales
     Inc. v. Best Lighting Prod., Inc., 933 F. Supp. 2d 974, 1016 (S.D. Ohio 2013) (citing Dalesandro v. Ohio Dep’t of
26   Transp., No. 10AP–241, 2010 WL 5238609, at *3 (Ohio Ct. App. Dec. 16, 2010).
     5
       Cataldo v. U.S. Steel Corp., 676 F.3d 542, 547 (6th Cir. 2012).
27   6
       See Beco Dairy Automation, Inc. v. Glob. Tech Sys., No. 1:12-cv-01310 LJO SMS, 2015 U.S. Dist. LEXIS 13050
     at *27 (E.D. Cal. Sep. 28, 2015).
28   7 Stanwyck v. Bogen (In re Stanwyck), 450 B.R. 181, 190 (Bankr. C.D. Cal. 2011).
     8
       Id.

                                                               3
     PLAINTIFFS’ SUR-REPLY IN OPPOSITION TO DEFENDANTS UNIVERSITY OF ALASKA BOARD OF
     REGENTS AND UNIVERSITY OF ALASKA SYSTEM’S PARTIAL MOTION TO DISMISS
1    affirmative defense, it does not create a jurisdictional defect that strips a court of authority

2    to determine a plaintiff’s claims. 9
3
             Dismissal based on statute of limitations is only appropriate if the complaint “shows
4
     conclusively on its face that the action is indeed time-barred.” 10 Accepting the well-pleaded
5
6    facts as true, as a court must, 11 Defendants’ motion fails because Plaintiffs’ Second
7    Amended Complaint shows that Plaintiffs’ Title IX claims accrued (with the exception of
8
     Jane Doe VI’s claims which have no statute of limitations for felony sexual assault) only
9
10   just recently or that Plaintiffs only discovered their claims against University of Alaska
11   recently. Plaintiff Jane Doe I did not even know that Defendant Yesner had sexually
12
     suggestive photographs of her until the final report was released in March 2019.
13
14           Furthermore, “awareness, [of the existence of the injury and causation] does not
15   mean actual knowledge; rather, all that must be shown is the existence of ‘circumstances
16
     [that would lead a reasonable person to investigate further.’” 12 So even if Plaintiffs were
17
18   aware that Yesner assaulted, harassed and injured them, they had no reason to know or

19   suspect—until December 2017, at the earliest, when University of Alaska initiated an
20
     investigation—that University of Alaska’s deliberate indifference to complaints and its
21
22   unreasonable failure to take action contributed to their harassment and abuse or in their

23   denial of educational benefits at University of Alaska.
24
25
26
     9
       See Whitehorn v. FCC, 235 F. Supp. 2d 1092, 1096 (D. Nev. 2002).
27   10
        See Neveau v. City of Fresno, 392 F. Supp. 2d 1159. 1169 (E.D. Cal. 2005).
     11
        Id.
28   12
        Hernandez v. Baylor Univ., 274 F. Supp. 3d 602, 616 (W.D. Tex. 2017)(quoting Piotrowski v. City of Houston, 237
     F.3d 567, 576 (5th Cir. 2001)).

                                                             4
     PLAINTIFFS’ SUR-REPLY IN OPPOSITION TO DEFENDANTS UNIVERSITY OF ALASKA BOARD OF
     REGENTS AND UNIVERSITY OF ALASKA SYSTEM’S PARTIAL MOTION TO DISMISS
1           This means that it was not until December 2017, at the earliest, that Plaintiffs first

2    knew University of Alaska could have—and should have—stopped or prevented their
3
     harassment but did not. Indeed, the case to which Defendants cite in their Reply actually
4
     helps Plaintiffs’ argument. In Reasner v. State Dep’t of Health & Soc. Servs., the Supreme
5
6    Court of Alaska held that
7           “under the discovery rule, the date on which a statute of limitations begins to
8           run is a question of fact.”
9    394 P.3d 610, 616 (Alaska 2017), amended (May 19, 2017).
10
            “While the need for the discovery rule is most apparent when a plaintiff’s
11          injury is undiscovered and reasonably undiscoverable, Alaska’s formulation of
12          the discovery rule is broad enough to cover other undiscovered and reasonably
            undiscoverable elements such as whether the cause of the injury was tortious.
13          The discovery rule in tort suits protects plaintiffs whose injury is known but
14          the cause is not reasonably discoverable during the limitations period.”
15   Id. at 615; See Pedersen v. Zielski, 822 P.2d 903, 907 (Alaska 1991).
16
            And because disputes over a claim’s accrual date is a classic factual dispute,
17
18   University of Alaska gives this Court no choice but to deny its motion to dismiss.

19                               ARGUMENTS & AUTHORITIES
20
     A.     AS 9.10.065 does apply to Jane Doe VI’s Title IX claims against the University.
21
22          Defendants cite to Reasner v. State, 394 P.3d 610 (Alaska 2017) to say that Jane

23   Doe VI’s felony sexual assault claims do not apply to University of Alaska and therefore
24
     she can not avail herself of the AS 9.10.065 statute. This law states that that there is no
25
     statute of limitations deadline for claims of felony sexual assault. However, the Reasner
26
27   case did not involve Title IX claims which is what Plaintiff Jane Doe VI alleges in the
28

                                                  5
     PLAINTIFFS’ SUR-REPLY IN OPPOSITION TO DEFENDANTS UNIVERSITY OF ALASKA BOARD OF
     REGENTS AND UNIVERSITY OF ALASKA SYSTEM’S PARTIAL MOTION TO DISMISS
1    Complaint. Title IX does not explicitly provide a statute of limitations. 13 Accordingly,

2    Courts have applied the most applicable state statute of limitations 14. Here, Jane Doe
3
     VI’s claim is for felony sexual assault which carries no statute of limitations pursuant to
4
     AS 9.10.065. Therefore, the Court must apply the state statute of limitations for Jane Doe
5
6    VI’s Title IX claim which is the AS 9.10.065 law. Jane Doe VI’s claims for Title IX against
7    the University are thus timely.
8
     B.       Regardless, Plaintiffs allege they did not discover the existence of their claims
9             against University of Alaska until recently.
10
              Under the federal discovery rule, “the statute of limitations begins to run when a
11
12   reasonable person knows, or in the exercise of due diligence should have known, both his
13   injury and the cause of that injury.” 15 Here, that cause is University of Alaska, which
14
     Plaintiffs could not have known until December 2017 because University of Alaska kept
15
16   its involvement and enablement a secret.

17            In Hernandez v. Baylor University, 16 the Western District of Texas declined to
18
     dismiss plaintiff’s Title IX claims as untimely when she alleged that she first became aware
19
20   of the university’s deliberate indifference to a known issue of sexual misconduct within its

21   football program four years after the university football player assaulted her—when a law
22
     firm investigating the university’s handling of sexual-assault allegations released its
23
24
25
     13
        See Kunzi v. Ariz. Bd. of Regents, No. CV-12-02327-PHX-JAT, 2013 U.S. Dist. LEXIS 167181 at *6-7 (D. Ariz.
26   Nov. 25, 2013).
     14
        Id.; see also Stanley v. Trs. of the Cal. State Univ., 433 F.3d 1129 (9th Cir. 2006) (“Title IX does not expressly
27   provide any statute of limitations. Because a Title IX suit is a civil rights action, the court borrows the most appropriate
     state statute of limitations.”
28   15
        See also Cook v. Sibjet, CV. No. 98-669-HA, 2000 U.S. Dist. LEXIS 20908 (D. Or. Dec. 15, 2000).
     16
        Hernandez, 274 F. Supp. 3d 602 (W.D. Tex. 2017).

                                                                  6
     PLAINTIFFS’ SUR-REPLY IN OPPOSITION TO DEFENDANTS UNIVERSITY OF ALASKA BOARD OF
     REGENTS AND UNIVERSITY OF ALASKA SYSTEM’S PARTIAL MOTION TO DISMISS
1    report. 17 Although the plaintiff knew she had been assaulted and that the perpetrator had

2    assaulted other women, the court believed it was reasonable to infer that her claims did not
3
     accrue until later investigations publicly revealed that the university knew and could have
4
     prevented her assault. 18
5
6             Here, Plaintiffs’ situation is similar to the Plaintiff’s in Hernandez, except Plaintiffs
7    in this case did not know they had been harassed and sexually assaulted until years later.
8
     University of Alaska hired an outside law firm to conduct an investigation into the claims
9
10   made against Professor Yesner in December 2017. The report was not released until March
11   2019. Plaintiffs first became aware of the university’s deliberate indifference to a known
12
     issue of sexual misconduct within the Anthropology department years after Yesner
13
14   assaulted and harassed them—when a law firm investigating the university’s handling of
15   sexual-assault and harassment allegations released its report.
16
              University of Alaska affirmed Plaintiffs’ belief that nothing was wrong by
17
18   continuing to maintain Yesner as a Professor and continuing to allow him to teach students

19   on campus. For this reason, Plaintiffs had no reason to suspect or to further investigate any
20
     claims regarding University of Alaska’s actions—or lack thereof—until University of
21
22   Alaska initiated a full-blown investigation in December 2017.

23
24
     17
        Id. at 617 (denying motions to dismiss pre-assault Title IX claims based on a statute of limitations defense, holding
25   that, based on allegations, plaintiff “had no reason to suspect that Baylor’s alleged deliberate indifference played a
     role in her assault,” where Plaintiff did not learn of university’s role in causing her sexual assault until law firm hired
26   to investigate university’s handling of sexual assaults released findings years later); see also Doe 1 v. Baylor Univ.,
     240 F. Supp. 3d 646, 663. (W.D. Tex. 2017) (same); T.R. v. Boy Scouts of America, 181 P.3d 758, 766 (Or. 2008)
27   (where plaintiff was sexually abused by a police officer, the date when plaintiff’s federal civil rights claim against city
     began to accrue was a question for jury, and it was reasonable for jury to conclude that claim accrued when plaintiff
28   discovered from news coverage the city’s role in causing sexual abuse by police officer).
     18
        Hernandez, 274 F. Supp. 3d at 616-617.

                                                                 7
     PLAINTIFFS’ SUR-REPLY IN OPPOSITION TO DEFENDANTS UNIVERSITY OF ALASKA BOARD OF
     REGENTS AND UNIVERSITY OF ALASKA SYSTEM’S PARTIAL MOTION TO DISMISS
1            But even if Plaintiffs had investigated into Yesner’s conduct further, they would

2    have run into a giant road block placed by the University and would have been reassured
3
     by the University as they had been time and time again that “that’s just Yesner being
4
     Yesner”, “That’s your story. I bet Yesner has something else he would say,” or “don’t
5
6    believe the stories.” Furthermore, their investigations would have been futile considering
7    the virtues and commendations that University of Alaska bestowed upon David Yesner,
8
     going so far as to award him emeritus status upon retirement despite the Plaintiffs’ initial
9
10   objections.
11           Plaintiffs’ Second Amended Complaint alleges that University of Alaska’s failures
12
     occurred in December 2017 and March 2019 or were only discoverable in December 2017
13
14   and March 2019, meaning Plaintiffs’ claims are not time-barred.
15                               CONCLUSION AND PRAYER
16
             If University of Alaska believes Plaintiffs knew or should have known sooner, then
17
18   let University of Alaska demonstrate this in discovery. But to extinguish Plaintiffs’ claims

19   now—particularly when the law permits claims as pled—simply devastates the victims
20
     even more. For the reasons stated above, Defendants’ Motion to Dismiss should be denied
21
22   in its entirety.

23
24
     DATED: February 14, 2020
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     PLAINTIFFS’ SUR-REPLY IN OPPOSITION TO DEFENDANTS UNIVERSITY OF ALASKA BOARD OF
     REGENTS AND UNIVERSITY OF ALASKA SYSTEM’S PARTIAL MOTION TO DISMISS
1                                              Respectfully submitted,
2
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                                               (Admitted Pro Hac Vice)
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     PLAINTIFFS’ SUR-REPLY IN OPPOSITION TO DEFENDANTS UNIVERSITY OF ALASKA BOARD OF
     REGENTS AND UNIVERSITY OF ALASKA SYSTEM’S PARTIAL MOTION TO DISMISS
1                                   CERTIFICATE OF SERVICE

2           I hereby certify that on February 14, 2020 I filed a true and correct copy of the
     foregoing document with the Clerk of the Court for the United States District Court –
3
     District of Alaska by using the CM/ECF system. Participants in Case No. 3:19-cv-00136-
4    HRH who are registered CM/ECF users will be served by the CM/ECF system.
5
                                                    /s/ Cornelia Brandfield-Harvey
6                                                   Cornelia Brandfield-Harvey
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     PLAINTIFFS’ SUR-REPLY IN OPPOSITION TO DEFENDANTS UNIVERSITY OF ALASKA BOARD OF
     REGENTS AND UNIVERSITY OF ALASKA SYSTEM’S PARTIAL MOTION TO DISMISS
